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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 SAMUEL F. HOGGATT,                             )
                                                )
                Plaintiff,                      )
                                                )       1:03-CV-256-JPG-SEB
        vs.                                     )
                                                )
 SHERIFF OF MARION COUNTY,                      )
 INDIANA,                                       )
                                                )
                Defendant.                      )


                                         JUDGMENT

                Having granted Defendant’s Motion for Summary Judgment in a concurrent

 ruling, the Court now enters JUDGMENT in favor of the Defendant and against the Plaintiff.

 Each party shall bear its own costs.

                IT IS SO ORDERED this 14th day of November, 2005.



                                                    _______________________________
                                                     JOHN P. GODICH, MAGISTRATE JUDGE
                                                     United States District Court
                                                     Southern District of Indiana

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